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15                             CENTRAL DISTRICT OF CALIFORNIA
16
     CHARLES ANTHONY GUERRA, ) Case No.: 2:16-cv-06796 MWF (KSx)
17   CHRYSTAL, and KARLTON     )
18   BONTRAGER,                ) JOINT STATUS REPORT
                               )
19             Plaintiffs,     ) Action Filed: September 9, 2016
20                             )
          v.                   )
21                             )
22   WEST LOS ANGELES COLLEGE )
     and LOS ANGELES COMMUNITY )
23   COLLEGE DISTRICT,         )
24                             )
               Defendants.     )
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     Guerra et al. v. WLAC et al., No. 2:16-cv-06796 MWF (KSx),
     Joint Status Report
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     Guerra et al. v. WLAC et al., No. 2:16-cv-06796 MWF (KSx)
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 1       Pursuant to the Court’s November 12, 2024 Order Extending Stay and
 2   Requiring Further Joint Status Report, Dkt. No. 289, Plaintiffs Charles Guerra, the
 3   estate of Chrystal, and Karlton Bontrager, and Defendants West Los Angeles
 4   College and Los Angeles Community College District hereby submit the following
 5   joint status report:
 6             1.    The parties have exchanged drafts of a settlement agreement resolving
 7   each Plaintiff’s claims and setting forth a procedure and timeline for resolving the
 8   issue of attorneys’ fees and costs. The parties anticipate that they will be able to
 9   execute a settlement agreement by the end of 2024.
10             2.    The parties are engaged in identifying a mediator to assist them in
11   resolving the issue of attorneys’ fees and costs. The parties anticipate that the
12   mediation will take place in early 2025.
13             3.    The parties are also in communication regarding a potential settlement
14   for the related Cline v. West Los Angeles College, et al. case.
15             As a result, the parties respectfully request that the Court continue to stay the
16   litigation in this case. The parties propose that the Court require the parties to
17   submit a status report by February 14, 2025 regarding their progress towards
18   settlement and any other relevant update.
19
20    DATED: December 13, 2024                     Respectfully submitted,
                                                   DISABILITY RIGHTS CALIFORNIA
21
22                                                 /s/ Autumn M. Elliott
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                                                   Autumn M. Elliott

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25
                                                   LAW OFFICE OF AARON J. FISCHER

26                                                 s/ Aaron J. Fischer
27                                                 Aaron J. Fischer

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 1                                                 DISABILITY RIGHTS ADVOCATES
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      DATED: December 13, 2024                     BEST BEST & KRIEGER LLP
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 8                                                 /s/ Cynthia M. Germano
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10                                                 Attorneys for Defendants
                                                   WEST LOS ANGELES COLLEGE
11                                                 and LOS ANGELES COMMUNITY
12                                                 COLLEGE DISTRICT
13
                             L. R. 5-4.3.4(A)(2)(I) ATTESTATION
14         I, the filer of this document, attest that all other signatories listed, and on
15   whose behalf the filing is submitted, concur in the filing's content and have
     authorized the filing.
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